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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION


 KRISTIN MARIE SMITH
 and LLOYD SMITH,

        Plaintiffs,

 v.                                                      Cause No. 2:16-cv-24- ERW

 TOYOTA MOTOR CORPORATION,
 TOYOTA MOTOR SALES, U.S.A., INC.

        Defendants.


______________________________________________________________________________

          DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ EXHIBIT LIST
_____________________________________________________________________________

        Defendants Toyota Motor Corporation and Toyota Motor Sales, U.S.A., Inc. (Toyota
Defendants) file these objections to Plaintiffs’ Exhibit List (Doc. 94) and would respectfully
show the Court as follows:
        First, Plaintiffs’ exhibit list contains numerous entries listed as exhibits to depositions
taken in previous, unrelated cases from the instant lawsuit—including Christopher Tinto
(Hunsberger v. Toyota Motor Corp. (2005)), Takashi Yonekawa (Hunsberger), Motoki Shibata
(Hunsberger and Hem v. Toyota Motor Corp. (2008)), and Takashi Shirasu (Hem). None of
these exhibits should be admissible in the instant case. Plaintiffs failed to formally disclose or
produce any of these materials to the Toyota Defendants in this case at any point. At best, the
materials were included in a subfolder to a subfolder to a subfolder of a flash drive of Plaintiff
expert Mark Arndt’s file materials, produced at his deposition on December 13, 2017—and were
still never identified as anything other than expert reliance materials.      Accordingly, under
Federal Rules of Civil Procedure 26(a) and 37(c)(1), Plaintiffs should not be allowed to use any
of these undisclosed exhibits at the trial of this matter.
        Moreover, Plaintiffs are unable adequately to establish that these exhibits are what they
are purported to be, as required by Federal Rule of Evidence 901. Other than some limited

DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
EXHIBIT LIST                                                                               PAGE 1
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  deposition testimony designations for Christopher Tinto from Hunsberger, Plaintiffs simply do
  not have any testimony from these deponents in those prior cases at all—much less
  authenticating any of the listed exhibits. And, even as to Christopher Tinto, as more fully
  described in the Toyota Defendants’ objections to Plaintiffs’ deposition designations, Mr. Tinto’s
  testimony should be entirely excluded and thus be unable to serve as any authentication.
          Plaintiffs cannot be allowed to suddenly inject 65 new exhibits into this lawsuit, some of
  which are very voluminous, many of which are quite irrelevant—including for instance subject
  vehicle photographs from those other cases—and all of which have never been formally
  produced in this case. Plaintiffs first served federal initial disclosures in this case in August 2016
  and from then until now Plaintiffs have been under the continuing obligation of Federal Rule of
  Civil Procedure 26(a) to provide to the Toyota Defendants a copy or a description by category
  and location of all documents and electronically stored information in their possession, custody,
  or control “that the disclosing party may use to support its claims . . . .” Plaintiffs wholly failed
  to do so with respect to these exhibits from 10 and 13-year old depositions. And, under Rule
  37(c)(1), none of these exhibits should be admissible in the instant case.
          In addition to the global objections to all of Plaintiffs’ exhibits listed as prior case
  deposition exhibits, the Toyota Defendants further object to Plaintiffs’ exhibit list as follows:


EXH.:                                                                                  OBJECTIONS, IF
                                                                                              ANY:
         EXHIBITS TO DEPO OF CHRISTOPHER TINTO (HUNSBERGER v.                               See global
                            TOYOTA; 03.16.05)                                              objections to
                                                                                       exhibits from prior
                                                                                         case depositions
 P1                                                                                     Fed. R. Evid. 401,
                                                                                       402, 403, 801, 802,
        Mr. Tinto's handwritten organizational chart                                            901
 P2                                                                                    401, 402, 403, 801,
        Mr. Tinto's statement before Congress                                                802, 901
 P3                                                                                      1002 (See TMC
                                                                                        Initial Disclosure
        Toyota Engineering Standards Test Method for Vehicle Rollovers                 Bates 2339 – 2354)
 P4     Transcript of Toyota presentation to NHTSA MVSRAC Rollover                     401, 402, 403, 801,
        Subcommittee                                                                         802, 901
 P5                                                                                    401, 402, 403, 801,
                                                                                         802, 901; injects
        Toyota 4Runner 4x2 Photos and Measurements                                        other incidents
 P6                                                                                    401, 402, 403, 801,
        Toyota 4Runner 4x4 Photos and Measurements                                       802, 901, injects

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  EXHIBIT LIST                                                                                  PAGE 2
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                                                                                        other incidents
P7                                                                                   901, 1002 (See TMC
                                                                                       Initial Disclosure
                                                                                        Bates 120767-
      SAE, "Active Control Strategy for Improved Handling and Stability                     120777)
P8    Test Report in Japanese and English                                             401, 402, 403, 901
P9    Test Report in Japanese and English                                             401, 402, 403, 901
P10                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Article, "Stability Criteria and Evaluation of Steering Maneuver in 'Driver       Bates 120750-
      Vehicle System'"                                                                      120757)
P11                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
                                                                                        Bates 380732-
      Article, "Vehicle Dynamics and Control for Active Safety"                             380741)
P12                                                                                  401, 402, 403; other
      Rapid Test Report                                                              vehicles not relevant
P13                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
                                                                                        Bates 107139-
      Article, "Driver's Characteristics of Avoidance Maneuver"                             107144)
P14                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Article, "A Study of Rollover of Sport Utility Vehicle"                        Bates 99162-99167)
P15                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Article, "A Study on Rollover of Sport Utility Vehicle"                        Bates 47272-47276)
P16                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Japanese Document Titled "A Study of Rollover of Sport Utility Vehicle"        Bates 47268-47271)
P17                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
                                                                                        Bates 121140-
      Article, "A Study of Emergency Maneuverability"                                      121145A)
P18                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Engineering Report No. T9512-0877                                              Bates 54438-54482)
P19   Marketing Technical Information Booklet for the 1996 Toyota 4Runner                      403
P20   Internal Memo to the NHTSA Docket from Mr. Pyne                                          403
P21                                                                                   401, 402, 403, 801,
      Ford Motor Company Memorandum                                                         802, 901
P22                                                                                  901, 1002 (See TMC
                                                                                       Initial Disclosure
      Engineering Report No. T9712-1178                                              Bates 98014-98055)
P23                                                                                  901, 1002 (See TMC
      Article in Japanese Titled "Average Driver's Behavior in Emergency Situation     Initial Disclosure
      and Limit of Tire Adhesion"                                                       Bates 238437)
P24                                                                                  901, 1002 (See TMC
      Engineering Report No. T9804-1186                                                Initial Disclosure

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                                                                             Bates 121016-
                                                                                 121027)
P25                                                                       401, 402, 403; other
      Engineering Report No. T9809-0401                                   vehicles not relevant
P26                                                                       401, 402, 403; other
      Engineering Report No. T9812-0209                                   vehicles not relevant
P27                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
                                                                             Bates 125584-
      Engineering Report No. T9812-0093                                          125598)
P28   NHTSA Table of 1998 SUVs                                                801, 802, 901
P29                                                                        401, 402, 403, 801,
      LF Mr. Yoshie to Ms. Bailey, 8/30/00                                       802, 901
P30                                                                        401, 402, 403, 801,
      Toyota Hot Sheet, November 2000                                            802, 901
P31                                                                        401, 402, 403, 801,
      LF Mr. Tinto to Mr. Weinstein, 1/18/02                                     802, 901
P32                                                                        401, 402, 403, 801,
      LF Mr. Matsunami to Mr. Sugiyama, 1/18/02                                  802, 901
P33                                                                        401, 402, 403, 801,
      Toyota Interoffice Memo, 1/18/02                                           802, 901
P34                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
      Toyota Engineering Standard TSA5130G                                   Bates 149455)
P35                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
      Toyota Engineering Standard TSA1526G                                   Bates 160252)
P36                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
      Test Result Report for '97 4Runner                                     Bates 202227)
P37                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
                                                                             Bates 163520-
      Engineering Report No. T0211-0840                                          163547)
P38                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
                                                                             Bates 163585-
      Engineering Report No. T0211-0841                                          163621)
P39                                                                        401, 402, 403, 801,
      LF Mr. Cammisa to Dr. Runge, 11/21/02                                      802, 901
P40                                                                       901, 1002 (See TMC
                                                                            Initial Disclosure
                                                                             Bates 163520-
      Engineering Report No. T0211-0840                                          163547)
P41   Acknowledgement Fax Sheet of Receipt of Defect Information Report    401, 402, 403, 801,
      Submitted Under 40 CFR Part 573                                            802, 901
P42                                                                       401, 402, 403, 801,
      LF Mr. Tinto to Mr. Weinstein, 1/18/02                                   802, 901
P43   Toyota Customer Services Interoffice Memo from Mr. Zellers          401, 402, 403, 901


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 EXHIBIT LIST                                                                       PAGE 4
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P44   E-mail from Toyota Motor Sales to the Dealers' Service Managers                401, 402, 403, 901
P45                                                                                  401, 402, 403, 801,
      Quarterly Report on Notification of Campaign - Part 573.6(b)                         802, 901
P46                                                                                  401, 402, 403, 801,
      LF Mr. Tinto re: Docket 2001-9663                                                    802, 901
P47                                                                                 901, 1002 (See TMC
                                                                                      Initial Disclosure
      Article, "Development of Estimation Method of Vehicle's Emergency                Bates 175156-
      Handling"                                                                            175161)
                                                                                          See global
                                                                                        objections to
      EXHIBITS TO DEPO OF TAKASHI YONEKAWA (HUNSBERGER v.                            exhibits from prior
      TOYOTA; 01.20-21.05)                                                            case depositions
P48   Copy of Yonekawa's resume                                                         401, 402, 403
P49                                                                                  401, 402, 403, 801,
      Collection of 4 documents re: the recall of the '96 - '98 model 4Runner for          802, 901
      handling performance defect
      1. Defect Information Report for 4Runner Handling Performance dated
      1/21/2002 (1 page)
      2. Interoffice Memo from Zellers to Distributor/VP's re: 1996-1998 MY
      4Runner Rear Suspension Modification (4 pages)
      3. LF Tinto to Weinstein/NHTSA re: Toytoa 4Runner Handling Performance,
      Part 573, Defect Information Report (4 pages)
      4. MF Toyota Customer Service to All Toyota Dealers re: 1996-1998
      MY4Runner Rear Suspension Modification SSC (2 pages)
P50                                                                                 401, 402, 403, 801,
      Engineering Report TO206-1269 dated 6/26/02                                        802, 901
P51                                                                                 401, 402, 403, 801,
      TO 206-1270 6/26/02                                                                802, 901
P52                                                                                 401, 402, 403, 801,
      Test TO 206-1271 6/26/02                                                           802, 901
P53                                                                                 401, 402, 403, 801,
      100 Foot SAE J266 Circle Test                                                      802, 901
P54   Article from Experimental Safety Vehicle Conference, "Development of          401, 402, 403, 801,
      Estimation Method…"                                                                802, 901
P55   Transcript of presentation by Toyota to NHTSA Rollover MVSRAC Rollover        401, 402, 403, 801,
      Subcommittee 3/16/89                                                               802, 901
                                                                                         See global
                                                                                        objections to
      EXHIBITS TO DEPO OF MOTOKI SHIBATA (HUNSBERGER v.                             exhibits from prior
      TOYOTA; 01.21.05)                                                               case depositions
P56                                                                                  403; more current
                                                                                      CV available at
      CV                                                                                    P234
                                                                                         See global
                                                                                        objections to
      EXHIBITS TO DEPO OF MOTOKI SHIBATA (HEM v. TOYOTA;                            exhibits from prior
      06.05.08)                                                                       case depositions
P57                                                                                  403; more current
      Background of Mr. Motoki Shibata (1 pg)                                         CV available at

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 EXHIBIT LIST                                                                                PAGE 5
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                                                                                               P234
P58                                                                                    403; more current
                                                                                         CV available at
      Resume in Japanese (1 pg)                                                                P234
P59                                                                                   403, 1002; illegible
                                                                                       copies—relevant
                                                                                            reports and
                                                                                         standards were
      Materials reviewed by the deponent: Engineering Reports and Test Standards     produced in this case
P60                                                                                   401, 402, 403, 901;
                                                                                           injects other
      Copy of Color Photograph                                                               incidents
P61                                                                                   401, 402, 403, 901;
                                                                                           injects other
      Copy of Color Photograph                                                               incidents
P62                                                                                   401, 402, 403, 901;
                                                                                           injects other
      Copy of Color Photograph                                                               incidents
                                                                                            See global
                                                                                          objections to
      EXHIBITS TO DEPO OF TAKASHI SHIRASU (HEM v. TOYOTA;                             exhibits from prior
      06.05.08)                                                                         case depositions
P63                                                                                   401, 402, 403, 801,
      Background of Mr. Takashi Shirasu (1 pg)                                               802, 901
P64                                                                                   401, 402, 403, 801,
      Resume in Japanese (1 pg)                                                              802, 901
P65   Materials reviewed by the deponent:                                                403, 1002; less
      Engineering Report No T9904-1223: Results of Stability and Controllability        legible copies—
      Evaluation of 800 T Off Road Package (40 pg)                                   relevant reports and
      Engineering Report No. T9904-1519: Evaluation of RO Resistance                     standards were
      Performance on 800T (45 pg)                                                    produced in this case
      Engineering Report No. T9904-1224: Results of Stability and Controllability
      Evaluation of 800 T (16 pg)
      Toyota Engineering Standard TS A1544: Method for Measuring Lateral
      Acceleration for RO (9 pg)
      Toyota Engineering Standard TS A1501G: Prep Procedure for Vehicle
      Controllability and Stability Test (9 pg)
      Toyota Engineering Standard TS A1513G.1: Straight Line Stability Test
      Method at High Speed (10 pg)
      Toyota Engineering Standard TS A1515G.4; Slalom Test Method (13 pg)
      Toyota Engineering Standard TS A1516g.4: Fixed Control Test Method (10 pg)
      Toyota Engineering Standards TS A1517G.1: Free Control Test Method (7 pg)
      Toyota Engineering Standards TS A1526G.1: Maximum Lateral Acceleration
      Test Method (6 pg)
      Toyota Engineering Standards TS A1527G.1: Pylon Slalom Test Method (6
      pg)
      Toyota Engineering Standards TS A0509G.2: Measurement Method of
      Moment of Inertia About 3 Axis of Vehicle and Height of Gravitational Center
      (13 pg)
      Toyota Engineering Standards TS A0508G: Measurement Method of Moment


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 EXHIBIT LIST                                                                                  PAGE 6
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      of Inertia About 3 Axes of Vehicle and Height of Gravitational Center (10 pg)
      Toyota Engineering Standards TS Z5100G: Terms on Controllability and
      Stability (55 pg)
      Remaining documents are in Japanese




      CASE DEPOS:
      EXHIBITS TO THE DEPO OF AUSTIN, KILE (SMITH v. TOYOTA;
      2015 11 17)
P66   Affidavit of Kile Austin                                                            403, 801, 802
P67   Photograph
      EXHIBITS TO THE DEPO OF ARNDT, MARK (SMITH v. TOYOTA;
      2017 12 13)
P68   USB containing entire file: correspondence, depos, documents/reports/articles,   Unable to correlate
      medical records, MWA work, vehicle photos by Lloyd Smith, early site photos      specific objections
      by Lloyd Smith, MWA site inspection and measurement photos, MWA drive            with exhibits due to
      through video, testing material from Mickey Gilbert, accident report, vehicle    bulk identification;
      photos, Western Lewis County FD records, Complaint, First Amended Petition       Defendants reserve
                                                                                       right to object to any
                                                                                       specific materials
                                                                                       contained herein—
                                                                                       including
                                                                                       specifically any
                                                                                       reference to other
                                                                                       incidents and testing
                                                                                       of Toyota 4Runner
                                                                                       vehicles not
                                                                                       conducted by Mr.
                                                                                       Arndt
P69   Plaintiffs' Initial Expert Disclosure                                             401, 402, 403, 801,
                                                                                                802,
      EXHIBITS TO THE DEPO OF CARHART, MICHAEL (SMITH v.
      TOYOTA; 2018 01 05)



 DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
 EXHIBIT LIST                                                                                    PAGE 7
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P70   Flash Drive containing:                                                           Unable to correlate
      Literature, Crash Report, Western Lewis FD Report, Case Depos, Defendant's        specific objections
      Preliminary RO Sequence, Plaintiffs' Expert Disclosure, Karen Grossman            with exhibits due to
      Tabak Report/CV, Defendant's Discovery Responses, Plaintiffs Discovery            bulk identification;
      Responses and NOD, Medical Records, Photos: Lee Carr, Scene, Injury,              Defendants reserve
      Vehicle; Vehicle CARFAX                                                          right to object to any
                                                                                         specific materials
                                                                                         contained herein
      EXHIBITS TO THE DEPO OF CARR, LEE (SMITH v. TOYOTA; 2018
      01 05)
P71   Carr Engineering Inc, Exhibit List, 1/4/2018
P72   Three-ring binder (red in color): case specific material                          Unable to correlate
                                                                                        specific objections
                                                                                        with exhibits due to
                                                                                        bulk identification;
                                                                                        Defendants reserve
                                                                                       right to object to any
                                                                                         specific materials
                                                                                         contained herein
P73   Three-ring binder (white in color): case specific material                        Unable to correlate
                                                                                        specific objections
                                                                                        with exhibits due to
                                                                                        bulk identification;
                                                                                        Defendants reserve
                                                                                       right to object to any
                                                                                         specific materials
                                                                                         contained herein
P74   Hard Drive:                                                                       Unable to correlate
      Exhibits                                                                          specific objections
      Literature                                                                        with exhibits due to
      Mail                                                                              bulk identification;
      Materials Reviewed                                                                Defendants reserve
      Testing                                                                          right to object to any
      Smith, Kristin v. Toyota - Carhart file                                            specific materials
                                                                                         contained herein
P75   Copies of depo transcripts reviewed                                                 403, 801, 802
P76   Manila folder: Arndt Reconstruction, Arndt Explorer
P77   Manila folder: Carr invoices, pleadings, emails, correspondence
P78   Reproduced copy of original data published in Item 40, Exh. 4: Charts, graphs,
      handwritten notes, vehicle CG data sheet, tire size notes, vehicle information
      notes, VIN decoded, 1997 Manufacturer Motor Vehicle Spec (TMC),
      articles/publications, pleadings,
      EXHIBITS TO THE DEPO OF KLIMA, MICHAEL (SMITH v.
      TOYOTA; 2018 01 03)
P79   CV
P80   List of Testimony
P81   Billing



 DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
 EXHIBIT LIST                                                                                    PAGE 8
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P82    Hard drive:                                                                  Unable to correlate
       Depositions, Discovery, Docs produced by TMC and TMS, Investigation          specific objections
       (Crash Report, CARFAX); Lee Carr Photos, scene photos, vehicle photos        with exhibits due to
       produced by Plaintiff                                                        bulk identification;
                                                                                    Defendants reserve
                                                                                   right to object to any
                                                                                     specific materials
                                                                                     contained herein
P83    Correspondence                                                                  403, 801, 802
P84    Other legal docs: NOD, Plaintiffs Initial Expert Disclosure, TMC and TMS,    401, 402, 403, 801,
       USA Expert Disclosure, Order Granting Parties Joint Motion to Amend Case              802
       Management Order, Amended Case Management Order, Complaint
P85    Accident report (redacted in accordance with MIL ruling)
P86    Vehicle documentation: CARFAX
P87    Depo summaries                                                                 403, 801, 802
P88    SAE transactions, paper preamble
P89    SAE paper, 2005-01-1702
P90    DRE report 111PT, seatbelt retractor
P91    Hard drive:                                                                  Unable to correlate
       Correspondence, Legal documents, Accident Report and Scene Photographs,      specific objections
       Accident Vehicle and Site Photographs, Medical Records, Vehicle              with exhibits due to
       Documentation, Plaintiffs Expert Documents, Defense Expert Documents,        bulk identification;
       Depositions, DRE Documentation                                               Defendants reserve
                                                                                   right to object to any
                                                                                     specific materials
                                                                                     contained herein
P92    Renfroe paper
       EXHIBITS TO THE DEPO OF OYAMA, KOZO (SMITH v. TOYOTA;
       2017 09 29)
P93    Background of Mr. Kozo Oyama
P94    Background of Mr. Kozo Oyama (Japanese version)
P95    Manufacturers Motor Vehicle Specs 1996 - 4Runner
P96    Handwritten Information - 2nd Gen & 3rd Gen
P97    SSF                                                                             801, 802, 901
P98    Transcript of Toyota Presentation to NHTSA MVSRAC RO Committee -             401, 402, 403, 801,
       March 16, 1983                                                                     802, 901
P99    SSF Chart                                                                       801, 802, 901
P100   Video Clip (Retained by Counsel)                                                401, 402, 403
P101   Video Clip (Retained by Counsel)                                             401, 402, 403, 901
P102   Article: "Driver's Characteristics of Avoidance Maneuver"                   901, 1002 (See TMC
                                                                                     Initial Disclosure
                                                                                      Bates 107139-
                                                                                          107144)
P103   Drawings 96-02 (Just 1997)
P104   Test Results

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  EXHIBIT LIST                                                                               PAGE 9
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P105   Standards/Test Procedures for Third Gen 4Runner - Handling and Stability and
       RO Resistance Evaluation
P106   1990-1995 Model Tests - Second Gen                                                401, 402, 403
P107   4Runner New Car Features - 1996
       EXHIBITS TO THE DEPO OF KUMAR, SRI (SMITH v. TOYOTA; 2017
       12 19)
P108   Plaintiffs' Initial Expert Disclosure                                          401, 402, 403, 801,
                                                                                             802
P109   Correspondence materials                                                       401, 402, 403, 801,
                                                                                             802
P110   Invoices                                                                       401, 402, 403, 801,
                                                                                             802
P111   CV                                                                                  801, 802
P112   Testimony List
P113   Accident Report Manila Folder (redacted in accordance with MIL ruling)
P114   Recon Manila Folder: Aerial Photo w/rollover trajectory overlay, graphs,
       photos showing scratch marks, scratch pattern analysis
P115   Notes Manila Folder                                                                 801, 802
P116   Depo Summary Manila folder                                                     403, 801, 802, 1002
P117   Vehicle photos Manila Folder
P118   9/30/2015 Exemplar Study Photographs
P119   11/2/2017 Exemplar Study Photographs
P120   Group of six discs:                                                             Unable to correlate
       1. Study 1-5 X-ray ankle, chest, abdomen                                        specific objections
       2. Medical records/bills                                                        with exhibits due to
       3. Medical records/bills                                                        bulk identification;
       4. Blessing Hospital records                                                    Defendants reserve
       5. Case File Material                                                          right to object to any
       6. Untitled                                                                      specific materials
                                                                                        contained herein
P121   Electronic Copy of Exemplar Studies
P122   Group of Scientific Articles:                                                     401, 402, 403
       Impact Biomechanics of the Human Thorax - Abdomen Complex
       Marks Standard Handbook for Mechanical Engineers
       Motor Vehicle Seat Belt Restraint System Analysis During RO
       Human Tolerance to Impact Conditions as Related to Motor Vehicle Design -
       SAE J885
       Injury Calculations Guidelines
       Preliminary Findings from the National Crash Severity Study
       Experimental and Computational Investigation of Human Clavicle Response in
       Anterior-Posterior Bending Loading
P123   Summary of Medical Records and Medical Records                                 801, 802, 1002
P124   Medical Summary and Illustrations                                              801, 802, 1002
       EXHIBITS TO THE DEPO OF MEYER, STEVEN (SMITH v. TOYOTA;
       2017 12 18)

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  EXHIBIT LIST                                                                                 PAGE 10
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P125   Flash Drive containing:                                                          Unable to correlate
       1. Meyer Exhibits (Vehicle photos, scene photos, complaint, scheduling order,    specific objections
       crash report, Lewis County Sheriffs report, Depos, Medical Records, Vehicle      with exhibits due to
       Data, Testimony re: Belt Use, Exemplar seat belt, jury teaching, exemplar        bulk identification;
       retractors with CLP, SAE 840396, TRW - Chamberlain docs, Autoliv Full            Defendants reserve
       Service Supplier, Ejection Mitigation Timeline, Restraint Performance Papers,   right to object to any
       Previous SAFE testing, Quote from Obergefell paper/presentation, SAFE roll        specific materials
       spit with CLP, SAFE high speed roll spit tests, testing: relieved retractor       contained herein
       tension, Dolly RO Tests w/Spool Out, CLP Patents, Retractor Patents,
       Occupant Protection Timeline, FMVSS 209, GM LT NHTSA re:
       Inconsequential Noncompliance, 1997 Chevy Blazer recall docs, Evenflo Dolly
       RO video, Castillo v. GM dolly RO)
       2. Meyer File Contents List
       3. Scanned Depo Notebook
       4. Scanned Photo Binder
P126   Index of Docs                                                                        801, 802
P127   Plaintiffs' Initial Expert Disclosure                                           401, 402, 403, 801,
                                                                                              802
P128   Invoices                                                                        401, 402, 403, 801,
                                                                                              802
P129   BIN3 49 Exemplar Restraint Data: 1999(+) Toyota 4Runner                         401, 402, 403, 801,
                                                                                              802
P130   Diagram                                                                         401, 402, 403, 801,
                                                                                              802
P131   Figure 2 - Retractor Unlocked Rotation Ranges                                   401, 402, 403, 801,
                                                                                              802
P132   SAFE Depo Notebook                                                              401, 402, 403, 801,
                                                                                              802
P133   SAFE Photographs                                                                401, 402, 403, 801,
                                                                                              802
       EXHIBITS TO THE DEPO OF POWER, ROBERT, CHIEF DEPUTY
       (SMITH v. TOYOTA; 2016 02 06)
       NO EXHIBITS MARKED
       EXHIBITS TO THE DEPO OF REICHERT, CRAIG (SMITH v.
       TOYOTA; 2015 11 16)
P134   Missouri Uniform Crash Report (redacted in accordance with MIL ruling)
       EXHIBITS TO THE DEPO OF SCHNEIDER, DENNIS (SMITH v.
       TOYOTA; 2018 01 04)
P135   CV
P136   Depo and Trial Testimony list
P137   Correspondence clip                                                             401, 402, 403, 801,
                                                                                              802
P138   Missouri Uniform Crash Report (redacted in accordance with MIL ruling)
P139   Western Lewis county FPD Crash Report
P140   Affidavit of Kile Austin                                                           403, 801, 802
P141   Affidavit of Michael Whiteaker                                                     403, 801, 802



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P142   TextMap Annotation Digest Report - Kristin Smith                                           403, 801, 802
P143   TextMap Annotation Digest Report - Lloyd Smith                                             403, 801, 802
P144   TextMap Annotation Digest Report - Craig Reichert                                          403, 801, 802
P145   TextMap Annotation Digest Report - Deputy Chief Robert Power                               403, 801, 802
P146   Table of contents
P147   Medical Records Reviewed
P148   AIS coding of injuries                                                                  403, 801, 802, 1002
P149   Short File Chronology of Injuries and Events                                            403, 801, 802, 1002
P150   Illustrations of General Anatomic Injury Location and Feature
P151   Illustrations of General Anatomic Injury Location and Feature
P152   Illustrations of General Anatomic Injury Location and Feature
P153   Illustrations of General Anatomic Injury Location and Feature
P154   Illustrations of Muscles of Rotator Cuff
P155   Illustrations of Lateral View of Pectoral Girdle
P156   Illustrations of Muscles of Hip and Thigh: Lateral View
P157   Illustrations of Skull: Anterior View
P158   Illustrations of Bones of Trunk and Pelvis
P159   Illustrations of the Humerus of the Right Arm and Detailed Views of the
       Articulation at the Elbow
P160   Accident Reconstructions Diagram Prepared by Carr Engineering
P161   Series of Photographs
P162   PowerPoint Index of Injuries
P163   Series of Slides from a PowerPoint Presentation
P164   Medical Records Reviewed
P165   AIS coding of injuries                                                                  403, 801, 802, 1002
P166   Illustrations of General Anatomic Injury Locations and Feature
P167   Lewis County Ambulance DI
P168   Transport Medical Record
P169   Medical Records: Trauma - Multisystem
P170   Medical Record: Blessing Hospital
P171   Emergency Center Trauma Flowsheet
P172   Trauma Flowsheet Narrative Notes
P173   Medical Record: Blessing Hospital (assumed Schneider Ex. 39)1
P174   Emergency Center Record: Blessing Hospital (Schneider Ex. 40)                            602, 702, 801, 802
P175   Medical Record: Blessing Hospital (Schneider Ex. 41)                                     602, 702, 801, 802
P176   Medical Record: Blessing Hospital (Schneider Ex. 42)                                     602, 702, 801, 802
P177   Medical Record: Blessing Hospital (Schneider Ex. 43)                                     602, 702, 801, 802

  1
   Plaintiffs’ exhibits P173 to P233 are all vaguely titled as medical records from Blessing Hospital. Assuming
  Plaintiffs intended to continue numerically referencing the exhibits from Dr. Schneider’s deposition, Defendants
  have herein lodged objections as if exhibits P173 to P233 are copies of Schneider Depo Exhibits 39 to 99.

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P178   Medical Record:   Blessing Hospital (Schneider Ex. 44)       602, 702, 801, 802
P179   Medical Record:   Blessing Hospital (Schneider Ex. 45)       602, 702, 801, 802
P180   Medical Record:   Blessing Hospital (Schneider Ex. 46)       602, 702, 801, 802
P181   Medical Record:   Blessing Hospital (Schneider Ex. 47)       602, 702, 801, 802
P182   Medical Record:   Blessing Hospital (Schneider Ex. 48)       602, 702, 801, 802
P183   Medical Record:   Blessing Hospital (Schneider Ex. 49)       602, 702, 801, 802
P184   Medical Record:   Blessing Hospital (Schneider Ex. 50)       602, 702, 801, 802
P185   Medical Record:   Blessing Hospital (Schneider Ex. 51)       602, 702, 801, 802
P186   Medical Record:   Blessing Hospital (Schneider Ex. 52)       602, 702, 801, 802
P187   Medical Record:   Blessing Hospital (Schneider Ex. 53)       602, 702, 801, 802
P188   Medical Record:   Blessing Hospital (Schneider Ex. 54)       602, 702, 801, 802
P189   Medical Record:   Blessing Hospital (Schneider Ex. 55)       602, 702, 801, 802
P190   Medical Record:   Blessing Hospital (Schneider Ex. 56)       602, 702, 801, 802
P191   Medical Record:   Blessing Hospital (Schneider Ex. 57)       602, 702, 801, 802
P192   Medical Record:   Blessing Hospital (Schneider Ex. 58)       602, 702, 801, 802
P193   Medical Record:   Blessing Hospital (Schneider Ex. 59)       602, 702, 801, 802
P194   Medical Record:   Blessing Hospital (Schneider Ex. 60)       602, 702, 801, 802
P195   Medical Record:   Blessing Hospital (Schneider Ex. 61)       602, 702, 801, 802
P196   Medical Record:   Blessing Hospital (Schneider Ex. 62)       602, 702, 801, 802
P197   Medical Record:   Blessing Hospital (Schneider Ex. 63)       602, 702, 801, 802
P198   Medical Record:   Blessing Hospital (Schneider Ex. 64)       602, 702, 801, 802
P199   Medical Record:   Blessing Hospital (Schneider Ex. 65)       602, 702, 801, 802
P200   Medical Record:   Blessing Hospital (Schneider Ex. 66)       602, 702, 801, 802
P201   Medical Record:   Blessing Hospital (Schneider Ex. 67)       602, 702, 801, 802
P202   Medical Record:   Blessing Hospital (Schneider Ex. 68)       602, 702, 801, 802
P203   Medical Record:   Blessing Hospital (Schneider Ex. 69)       602, 702, 801, 802
P204   Medical Record:   Blessing Hospital (Schneider Ex. 70)       602, 702, 801, 802
P205   Medical Record:   Blessing Hospital (Schneider Ex. 71)       602, 702, 801, 802
P206   Medical Record:   Blessing Hospital (Schneider Ex. 72)       602, 702, 801, 802
P207   Medical Record:   Blessing Hospital (Schneider Ex. 73)       602, 702, 801, 802
P208   Medical Record:   Blessing Hospital (Schneider Ex. 74)       602, 702, 801, 802
P209   Medical Record:   Blessing Hospital (Schneider Ex. 75)       602, 702, 801, 802
P210   Medical Record:   Blessing Hospital (Schneider Ex. 76)       602, 702, 801, 802
P211   Medical Record:   Blessing Hospital (Schneider Ex. 77)       602, 702, 801, 802
P212   Medical Record:   Blessing Hospital (Schneider Ex. 78)       602, 702, 801, 802
P213   Medical Record:   Blessing Hospital (Schneider Ex. 79)       602, 702, 801, 802
P214   Medical Record:   Blessing Hospital (Schneider Ex. 80)       602, 702, 801, 802
P215   Medical Record:   Blessing Hospital (Schneider Ex. 81)       602, 702, 801, 802
P216   Medical Record:   Blessing Hospital (Schneider Ex. 82)       602, 702, 801, 802


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P217   Medical Record: Blessing Hospital (Schneider Ex. 83)                             602, 702, 801, 802
P218   Medical Record: Blessing Hospital (Schneider Ex. 84)                             602, 702, 801, 802
P219   Medical Record: Blessing Hospital (Schneider Ex. 85)                             602, 702, 801, 802
P220   Medical Record: Blessing Hospital (Schneider Ex. 86)                             602, 702, 801, 802
P221   Medical Record: Blessing Hospital (Schneider Ex. 87)                             602, 702, 801, 802
P222   Medical Record: Blessing Hospital (Schneider Ex. 88)                             602, 702, 801, 802
P223   Medical Record: Blessing Hospital [sic – should be Dr. Childress Office Visit    401, 402, 403, 602,
       December 20, 2012] (Schneider Ex. 89)                                              702, 801, 802
P224   Medical Record: Blessing Hospital [sic – should be Dr. Childress Progress          401, 402, 403,
       Note April 14, 2008] (Schneider Ex. 90)
P225   Medical Record: Blessing Hospital [sic – should be March 16, 2010 Office         401, 402, 403, 602,
       Encounter at LaBelle] (Schneider Ex. 91)                                              801, 802
P226   Medical Record: Blessing Hospital [sic – should be June 9, 2011 Office             401, 402, 403
       Encounter at Lewistown] (Schneider Ex. 92)
P227   Medical Record: Blessing Hospital [sic – should be July 5, 2011 Office              401, 402, 403
       Encounter at Lewistown] (Schneider Ex. 93)
P228   Medical Record: Blessing Hospital [sic – should be July 5, 2011 Radiology           401, 402, 403
       Report Quincy Medical Group] (Schneider Ex. 94)
P229   Medical Record: Blessing Hospital [sic – should be December 19, 2011 Office       602, 702, 801, 802
       Encounter at Lewistown] (Schneider Ex. 95)
P230   Medical Record: Blessing Hospital [sic – should be December 29, 2012                401, 402, 403
       Radiology Report Quincy Medical Group] (Schneider Ex. 96)
P231   Medical Record: Blessing Hospital [sic – should be July 31, 2012 Office           401, 402, 403, 602,
       Encounter at LaBelle] (Schneider Ex. 97)                                                801, 802
P232   Medical Record: Blessing Hospital [sic – should be flash drive of Dr.             Unable to correlate
       Schneider’s file materials] (Schneider Ex. 98)                                    specific objections
                                                                                         with exhibits due to
                                                                                         bulk identification;
                                                                                         Defendants reserve
                                                                                        right to object to any
                                                                                          specific materials
                                                                                          contained herein
P233   Medical Record: Blessing Hospital [sic – should be vehicle photos in junkyard]
       (Schneider Ex. 99)
       EXHIBITS TO THE DEPO OF SCHNEIDER, DENNIS (SMITH v.
       TOYOTA; 2018 02 14)
       NO EXHIBITS MARKED
       EXHIBITS TO THE DEPO OF SHIBATA, MOTOKI (SMITH v.
       TOYOTA; 2017 09 28)
P234   Background of Mr. Motoki Shibata
P235   Drawings - 1997 Retractor & Buckle Power Seat




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P236   Drawings - 96092 Retractor & Buckle Non-Power Seat (11 drawings):
       1. Installation Drawing Seat Belt Assy
       2. Belt Assy Front Seat Outer LH
       3. Belt Assy Fr Seat Outer LH
       4. Belt Assy Fr Seat Outer LH
       5. Belt Assy Fr Seat Outer LH
       6. Belt Assy Fr Seat Outer LH
       7. Belt Assy Fr Seat Inner
       8. Belt Assy Fr Seat Inner
       9. Retractor Assy Fr Seat Belt LH
       10. Retractor Assy Fr Seat Belt RH/LH
       11. Retractor Assy, Fr Seat Belt RH/LH

P237   1997 Test Reports (6):
       1. Automotive Seat Belt Assy, Type 2, submitted and identified by Client for
       specific testing (17 pg)
       2. Addendum to US Testing Company, Inc., Report No 115426-95; Change of
       Webbing Guide (4 pg)
       3. FMVSS 209, Seat Belt Assy (In Japanese) (10 pg)
       4. Japanese document (11 pg)
       5. Summary of test results, other than regulations, for seat belt (11 pg)
       6. Test Method for Vehicle RO (Japanese and English) (27 pg)
P238   1996, 1998-2002 Test Reports
P239   Folder - FMVSS 208 (Fitting) - Test Report no. RRMS-957009 1996-2002 Seat
       Belt Fitting Test on 185T (US and Canada Bound, Sport Type Seat)
P240   Folder - FMVSS 209, Test Report No. RRBH-958007 1996-1997, FMVSS
       Compliance Test on Front Seat Belt of 185T
P241   Folder - Head On - Test Report No. RRMS-951014 1996-1997, 052W (U.S.
       Bound) 35 MPH, Head-On Collision Test (JH15059)
P242   Right Oblique - Test Report No. RRMS-95109 1996-2000, 30 MPH Right
       Oblique Collision Test on 185T (JH5025) (FMVSS 301)
P243   Left Oblique - Test Report No. RRMS-951022 1996-2000, 30 MPH Left
       Oblique Collision Test on 185T (US Bound) (JH4039) (FMVSS 301)
P244   RIGHT SIDE - TEST REPORT NO. RRMS-952006 1996-2002, 20MPH
       RIGHT SIDE COLLISION TEST ON 185T (U.S. BOUND, 4X4, 853E
       ENGINE) (JM5003) (FMVSS 301) AND COLOR PHOTOGRAPHS
P245   LEFT SIDE - TEST REPORT NO. RRMS-952005 1996-2002, 20MPH LEFT
       SIDE COLLISION TEST ON 185T (U.S. BOUND, 4X4, 853E ENGINE)
       (JM5002) (FMVSS 301) AND COLOR PHOTOGRAPHS
P246   REAR END - TEST REPORT NO. RRMS-952001 1996-2000, 35MPH REAR
       END COLLISION TEST ON 185T (U.S. BOUND, 4X4 848E ENGINE)
       (JM4008) (FMVSS 301) AND COLOR PHOTOGRAPHS
P247   REAR END - TEST REPORT NO. RRMS-952007 1996-2002, 35MPH REAR-
       END COLLISION TEST ON 185T (U.S. BOUND, 4X4, W/REAR TRAILER
       HITCH BUMPER) (JM5004) (FMVSS 301) AND COLOR PHOTOGRAPHS



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P248   TEST REPORT NO. RRMS-952004 1996-2002, 30 MPH DOLLY
       ROLLOVER TEST ON 185T (U.S. BOUND 4X4 835E ENGINE) (XY4017)
       AND COLOR PHOTOGRAPHS
P249   TEST REPORTS AND DRAWINGS RELATED TO 1996-2002 MODEL
       4RUNNER ROOF
P250   "TOYOTA AND AUTOMOTIVE SAFETY" (CQQ-0436 TO 0456)                        401, 402, 403, 901,
                                                                                       1002
P251   1997 OWNER'S MANUAL - 4RUNNER (109666 TO 109908)
       EXHIBITS TO THE DEPO OF SMITH, KRISTIN (SMITH v. TOYOTA;
       2015 02 20)
P252   Scene Photograph
P253   Aerial photo of scene
P254   Scene Photograph
P255   Scene Photograph
P256   Scene Photograph
P257   Missouri Uniform Crash Report (redacted in accordance with MIL ruling)
       EXHIBITS TO THE DEPO OF SMITH, LLOYD (SMITH v. TOYOTA;
       2015 02 20)
P258   NOD                                                                           401, 402
P259   Scene photo
P260   Scene photo
P261   Scene photo
P262   Scene photo
P263   Scene photo
P264   Scene photo
P265   Scene photo
P266   Scene photo
P267   Scene photo
P268   Vehicle photo
P269   Vehicle photo
P270   Vehicle photo
P271   Vehicle photo
P272   Vehicle photo
P273   Vehicle photo
P274   Vehicle photo
P275   Vehicle photo
P276   Vehicle photo
P277   Vehicle photo
P278   Vehicle photo
P279   Vehicle photo
P280   Vehicle photo
P281   Vehicle photo

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P282   Vehicle photo
P283   Vehicle photo
P284   Vehicle photo
       EXHIBITS TO THE DEPO OF VAN ARSDELL, WILLIAM (SMITH v.
       TOYOTA; 2017 12 22)
P285   Hard drive:                                                               Unable to correlate
       Court Documents                                                           specific objections
       Expert Depos                                                              with exhibits due to
       Expert Reports/Disclosures                                                bulk identification;
       Fact Depos and Exhibits                                                   Defendants reserve
       First Responder Reports                                                  right to object to any
       Material Subject to PO                                                     specific materials
       Medical Records                                                            contained herein
       Miscellaneous
       Photographs and Video
       Van Arsdell Material:
       CV/Testimony List
       Depo Summaries
       EP Correspondence
       Literature
       Testing
       EP Facts Summary
       Experts - NOD for TMC Experts
       File Materials listing
       RO (Quarter Turns)
       NOD - Van Arsdell

P286   Expert report                                                            403, 602, 801, 802,
                                                                                       1002
P287   List of Materials                                                          401, 402, 403
P288   Depo Summaries                                                           403, 801, 802, 1002
P289   Invoices
P290   Correspondence                                                           401, 402, 403, 801,
                                                                                       802,
P291   Vehicle Photographs
P292   Analysis of NASS data related to Severity of RO
P293   Test Results Summary Bates 170326-170336
P294   RO test report of Third Gen Toyota 4Runner
P295   Terry Thomas 2002 Article "Emergency Locking Retractor Performance and         401, 402
       RO Accidents"
P296   CV
P297   Testimony List
P298   Exemplar Retractor
P299   Exemplar Buckle
       EXHIBITS TO THE DEPO OF VENEGONI, NICOLE (SMITH v.
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P300   Cell phone records
P301   Cell phone records
       EXHIBITS TO THE DEPO OF WHITEAKER, MICHAEL (SMITH v.
       TOYOTA; 2015 11 17)
P302   Western Lewis County Fire Dept. Report, Incident 2012-48
P303   Affidavit of Michael Whiteaker                                   403, 801, 802

       FILE CONTENTS:
P304   Accident Report (redacted in accordance with MIL ruling)
P305   Western Lewis County Fire Dept. Report
P306   Signed Affidavit for Firefighter Kile Austin                     403, 801, 802
P307   Lewis County Sheriff's Office Incident Report

P308   Accident Overview from Lloyd Smith                               401, 402, 403
P309   Accident Site Photos taken by Lloyd Smith
P310   Vehicle Photos taken by Lloyd Smith
P311   Flash Drive from North Star Imaging enclosing Buckle Photos   401, 402, 403, 801,
                                                                      802, 901, Fed. R.
                                                                     Civ. Pro. 26(a) lack
                                                                        of disclosure

P312   Petition for Damages                                            401, 402, 403
P313   Complaint                                                       401, 402, 403

P314   4-Runner Insurance Policy                                     401, 402, 403, 801,
                                                                      802, 901, Fed. R.
                                                                     Civ. Pro. 26(a) lack
                                                                        of disclosure
P315   Motorhome Insurance Policy                                    401, 402, 403, 801,
                                                                      802, 901, Fed. R.
                                                                     Civ. Pro. 26(a) lack
                                                                        of disclosure
P316   Shelter Insurance File re Medical Bills                       401, 402, 403, 801,
                                                                          802, 901
P317   Vehicle Information - Recalls                                 401, 402, 403, 801,
                                                                      802, 901, Fed. R.
                                                                     Civ. Pro. 26(a) lack
                                                                        of disclosure
P318   Certificate of Title
P319   Carfax Report
P320   Chain of Title History                                        403, 602, 801, 802,
                                                                            901
P321   Missouri Dept. of Revenue - DMV Recs                          403, 801, 802, 901
P322   Multi-State Vehicle History Report                            403, 602, 801, 802,


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                                                                                                901

P323   MO Drivers License for Kristin Smith
P324   MO Drivers License for Lloyd Smith
P325   Birth Certificate for Kristin Smith
P326   Marriage License
P327   Chronological History for Kristin Smith                                           403, 602, 702, 801,
                                                                                              802, 901

P328   Cell Phone Recs
P329   US Cellular Cell Phone Records for Kristen Smith

       MEDICAL RECORDS - KRISTIN SMITH
P330   Affidavit of Custodian of Billing Records of Air Evac                             401, 402, 403, 602,
       EMS, Inc., Debra Martinez                                                           702, 801, 802
P331   Lewis County Ambulance                                                            401, 402, 403, 602,
                                                                                         702, 801, 802, 901
P332   Blessing Hospital                                                                 401, 402, 403, 602,
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P333   Blessing Physician Services                                                       401, 402, 403, 602,
                                                                                         702, 801, 802, 901
P334   Affidavit of Custodian of Billing Records of Blessing Hospital, Mary Lou          401, 402, 403, 602,
       Miller                                                                              702, 801, 802
P335   Clinical Radiologists                                                             401, 402, 403, 602,
                                                                                         702, 801, 802, 901
P336   Affidavit of Custodian of Billing Records of Clinical Radiologists Radiologist,   401, 402, 403, 602,
       Rodney Leggett                                                                      702, 801, 802
P337   Quincy Medical Group                                                              401, 402, 403, 602,
                                                                                         702, 801, 802, 901
P338   County Market Pharmacy                                                            401, 402, 403, 602,
                                                                                         702, 801, 802, 901

       PLAINTIFFS EXPERTS:
       Sri Kumar:
P339   Correspondence                                                                    401, 402, 403, 801,
                                                                                              802, 901
       Mark Arndt:
P340   Correspondence                                                                    401, 402, 403, 801,
                                                                                              802, 901
P341   Affidavit of Mark Arndt                                                           403, 602, 702, 801,
                                                                                                802
       Steve Meyer:
P342   Correspondence                                                                    401, 402, 403, 801,
                                                                                              802, 901



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       TAB'S MICSCELLANEOUS EXHIBITS:
P343   All medical records produced in discovery                        401, 402, 403, 602,
                                                                        702, 801, 802, 901
P344   All medical bills produced in discovery                          401, 402, 403, 602,
                                                                        702, 801, 802, 901
P345   All Toyota records produced in discovery                         Unable to correlate
                                                                        specific objections
                                                                        with exhibits due to
                                                                        bulk identification;
                                                                        Defendants reserve
                                                                       right to object to any
                                                                         specific materials
                                                                         contained herein
P346   All vehicle ownership and maintenance records                    Unable to correlate
                                                                        specific objections
                                                                        with exhibits due to
                                                                        bulk identification;
                                                                        Defendants reserve
                                                                       right to object to any
                                                                         specific materials
                                                                         contained herein
P347   All documents produced by Toyota                                 Unable to correlate
                                                                        specific objections
                                                                        with exhibits due to
                                                                        bulk identification;
                                                                        Defendants reserve
                                                                       right to object to any
                                                                         specific materials
                                                                         contained herein
P348   Demonstrative aids from previously listed deposition exhibits    Unable to correlate
                                                                        specific objections
                                                                        with exhibits due to
                                                                        bulk identification;
                                                                        Defendants reserve
                                                                       right to object to any
                                                                         specific materials
                                                                         contained herein
P349   Demonstrative aids                                               Unable to correlate
                                                                        specific objections
                                                                        with exhibits due to
                                                                        bulk identification;
                                                                        Defendants reserve
                                                                       right to object to any
                                                                         specific materials
                                                                         contained herein
P350   The accident vehicle                                               Plaintiffs have
                                                                        indicated this entry
                                                                       was erroneous as the
                                                                        subject vehicle was
                                                                            demolished


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P351   Vehicle components                                                        Plaintiffs have
                                                                               indicated this entry
                                                                              was erroneous as the
                                                                               subject vehicle was
                                                                                   demolished
P352   Exemplar components                                                     Unable to correlate
                                                                               specific objections
                                                                               with exhibits due to
                                                                               bulk identification;
                                                                               Defendants reserve
                                                                              right to object to any
                                                                                specific materials
                                                                                contained herein
P353   Exemplar photos and diagrams                                            Unable to correlate
                                                                               specific objections
                                                                               with exhibits due to
                                                                               bulk identification;
                                                                               Defendants reserve
                                                                              right to object to any
                                                                                specific materials
                                                                                contained herein
P354   PowerPoint presentations by experts for identification                  Unable to correlate
                                                                               specific objections
                                                                               with exhibits due to
                                                                               bulk identification;
                                                                               Defendants reserve
                                                                              right to object to any
                                                                                specific materials
                                                                                contained herein



                                              Respectfully submitted,


                                              /s/ DAVID P. STONE
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                                              AND

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                                        TOYOTA MOTOR SALES, U.S.A., INC.


                               CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing was electronically served on all
 counsel of record via the Court’s ECF system, this 9th day of April, 2018, to the following
 counsel of record:

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